Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 1 of 14 Page|D 22

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

VS. CRIMINAL NO. 4:18-CR-00153-Y

E0'.lE0'lB0'JE03W]

KYLE EDWARD DAQUILLA (Ol)

PRETRIAL AND SCHEDULING ORDER FOR CRIMINAL TRIAL
(REVISED NOVEMBER 2016)l

All future pleadings filed in this cause shall contain the
defendant numbery as reflected. above, in the style of the cause.
Persistent failure to include the defendant number on future pleadings

may result in the striking of the deficient pleading.

l. This case is set for jury trial on September 24, 2018, at
1=30 p.m.
2. A pretrial conference will be conducted in the courtroom on

the fifth floor of the U.S. Courthouse, Fort Worth, Texas, on Thursday,
September 20, 2018, at 3:00 p.m. The defendant, as well as his
respective counsel, must be present at the conference. Each counsel
must be prepared to inform the Court of any unresolved motions or
issues and the status of any plea negotiations.

3. All discovery in this cause requested pursuant to and
required by Federal Rule of Criminal Procedure 16 must be completed
within a reasonable time prior to trial. Absent a compelling excuse,
any evidence for which production or disclosure was timely requested
pursuant to and required by Rule 16 but not disclosed. within a

reasonable time prior to trial will not be admitted at trial.

 

1The latest revisions to this order are highlighted.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 2 of 14 Page|D 23

4. Except as provided in this paragraph, Defendant's pretrial
motions must be filed no later than August 27, 2018, Defendant shall
not file any Inotion. for, or to compel, discovery, disclosure, or
production unless (i) Defendant has first made written request of the
government for the desired discovery, disclosure, or production, which
written request must specify a time and date prior to the motions
deadline when discovery, disclosure, or production of the items is
desired in the Fort Worth office of the U.S. attorney, and (ii) the
government has failed to comply with the request. The government must
respond in writing to any request made in accordance with this
paragraph within seven (7) days of receiving the request. The
government shall indicate either that the discovery will be allowed or
the disclosure or production will be made as requested or that the
request or portions thereof are objectionable, in which case the
government must briefly state the legal basis for the government's
objections. Lack of actual possession of an item by the government
will not be accepted as a reason for non-production if the government
can obtain possession of the item or, if copyable, a copy of the item
upon the government's request. If the government does not comply with
such request, defendant will be permitted to file a motion to compel
or for discovery or disclosure. Any such motion must be accompanied
by copies of any pertinent requests that were previously served by the
movant and verification as to service of each such request and the
results of the efforts to obtain the desired discovery, disclosure, or

production pursuant to each such request.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 3 of 14 Page|D 24

5. The government shall file a response to every pretrial motion
filed by the defendant that is not ruled on before the government's
response to the motion is due. The government's response must indicate
whether it is opposed to the motion and, if the motion is opposed,
must include argument and authority in support of the government's
opposition. The government's response to any pretrial motion filed by
the defendant must be filed within fourteen (14) days after the motion
is filed. See N.D.Tex.Crim.R. 47.1(e). If the government is prompted
to file a pretrial motion by reason of a pretrial motion filed by the
defendant, the government must file its motion within fourteen (14)
days after Defendant's motion is filed.

6. Defendant shall file a response to any pretrial motion filed
by the government within seven (7) days after receipt of such motion.

7. Before a party files a motion for continuance, he shall
confer with counsel for all other parties concerning what dates each
cannot be available for trial over the ensuing ninety-day period. The
party's motion for continuance shall then set out those dates.

8. All briefs filed with the Court shall comply with the most
recent edition of The Bluebook: A Uniform System of Citation.
Particularly, counsel are directed to provide, where applicable, the
subsections of cited statutes, and to provide pinpoint citations when
citing cases, i.e., provide the page where the stated legal proposition
can be found. See The Bluebook: A Uniform System of Citation B4.l.2,
at 9-10, R. 3.3(a), at 69-70 (Columbia Law Review Ass'n. et al. eds.,

19th ed. 2010) (regarding pinpoint citations and subsections,

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 4 of 14 Page|D 25

respectively). Furthermore, if a brief contains citations to
unpublished opinions or to LEXIS, counsel must attach copies of those
cases to the brief.

9. Pursuant to Local Criminal Rule 47.1, certificates of

conference must address all parties, including co-defendants, affected

 

by the requested relief.

lO. The government must file a written designation of its expert
witnesses, if any, no later than August 17, 2018, Each defendant must
file a written designation of his expert witnesses, if any, no later
than August 22, 2018, Each designation must contain a brief statement
of the subject matter to be covered by each expert witness. Any
motions challenging these designations, including challenges under
Fed. R. Evid. 702, must be filed by the deadline for filing pretrial
motions established in this order.2

ll. Northern District of Texas Local Criminal Rule l€.l(a)
notwithstanding, a set of copies of all copyable exhibits that a party
intends to offer at trial, except those offered solely for impeachment,
must be bound in three-ring binders and exchanged with all other
parties no later than 12:00 noon on the Friday prior to trial; and a

like set delivered to the courtroom at the time of jury selection.

 

2 If a party expects to elicit testimony from a witness regarding street
values of drugs, drug-distribution practices of individuals or groups, the
meaning of words and phrases used by persons in the distribution of drugs, the
meaning of drugs notes, gang activities and practices, and the like, that
witness must be designated as an expert.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 5 of 14 Page|D 26

12. Each exhibit must be labeled prior to trial by a gummed label
containing the identity of the offering party, the exhibit number, and
the cause number.

13. Northern District of Texas Local Criminal Rule 16.l(b)
notwithstanding, the parties must file with the clerk and deliver to
all other parties and the court reporter, separate lists of exhibits
and witnesses, except those offered solely for impeachment, no later
than 12:00 noon on the Thursday prior to trial.3 The witness lists to
be filed by the parties must list all witnesses, including timely
designated expert witnesses, the party may call at trial and contain
a brief statement of the subject matter to be covered by each witness.
Each party's exhibit list shall be in the same format as the Court's
sample exhibit list, which is attached as Exhibit A to this order.

14. The use of the second§floor courtroom, which is equipped
with computer monitors that allow exhibits to be displayed by document
camera, VCR, or computer, cannot be guaranteed because that courtroom
is now assigned to the Honorable Reed O’Connor. Upon request from a
party Judge Means will make every effort to secure the use of the
second-floor courtroom for this trial, but a final decision as to
which courtroom will be used (second floor or fifth floor~-Room 501)

cannot be made until between one and two weeks prior to trial;

 

3 No additions or substitutions to these lists may be made after the
deadline without leave of Court. Additionally, if a party desires to make
additions or substitutions to these lists after they are filed with the clerk,
the party should file an amended list that entirely supersedes the original
list, rather than simply filing a supplemental list naming only the additions
and/or substitutions.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 6 of 14 Page|D 27

If the trial is assigned to the second-floor courtroom, whoever
will be handling the documents for the parties must contact Brian
Rebecek, Deputy Clerk, at 817-850-6613 prior to any hearing or trial
to schedule training on the electronic equipment. If any additional
equipment is needed, notify the court coordinator, Carmen Bush at 817-
850~6673, prior to trial to make arrangements for its passage by court
security. Transcription and recording devices, except those employed
by the Court's official reporter, are not permitted.

15. Counsel for the government shall deliver to the Court and to
defense counsel each evening (if not earlier) a list of witnesses he
in good faith anticipates calling the next trial day. All Jencks Act
material pertaining to each witness on the list should be delivered at
the same time if it has not already been delivered pursuant to prior
urgings of the Court. The Court strongly encourages the early
production to defense counsel of any notes made by government agents
regarding interviews with witnesses that the government expects to
call to testify at trial. Also, at the close of each day's testimony,
the government shall proffer in writing, in as close to verbatim form
as possible, any statements that it expects to introduce on the next
trial day pursuant to the following:

a. Federal Rules of Evidence 801(d)(2)(A), to
the extent that they involve potential
Bruton problems; and
b. Federal Rules of Evidence 801(d)(2)(E).
The Court will hear objections thereto by defendant(s) either at that

time or prior to the commencement of testimony the following day.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 7 of 14 Page|D 28

16. The government shall file a proposed jury charge and verdict
form with the clerk of the Court and serve a copy of same on opposing
counsel no later than 4:00 p.m. on the Tuesday prior to the trial of
this cause. The proposed charge must have attached to it the following

certification:

I, (name of ass't. U.S. atty.), certify that
I have carefully read the foregoing proposed
charge of the Court and that it is, to the best
of my knowledge and ability, free of error both
in form and substance.

 

gate_________ Signature of attorney
Any objections, proposed additions, or proposed substitutions to the
government's proposed jury charge and verdict form must be filed with
the clerk of the Court and served on opposing counsel no later than
2:00 p.m. on the first day of trial and simultaneously emailed in Word
or WordPerfect format to: Means_orders@txnd.uscourts.gov. If
supplemental instructions become necessary due to the nature of the
evidence produced at trial, they must be filed and served as soon as
reasonably possible after the necessity of the supplemental
instructions becomes apparent. If objections, proposed additions, or
proposed substitutions to the government's charge are filed and served
in a timely manner, counsel for all parties shall meet prior to or
immediately after the close of the government's case in an attempt to
resolve their differences regarding the jury charge. During this
meeting, the parties shall compile a conformed jury charge that

incorporates all agreements reached by the parties. For any portion

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 8 of 14 Page|D 29

of the conformed charge about which disagreement remains at the
conclusion of the meeting, those portions that are requested by the
government and objected to by the defense shall be underlined, and
those portions that are requested by the defense and objected to by
the government shall be in boldface. The parties' conformed charge
shall be filed with the clerk of the Court as soon as possible after
the conclusion of the parties' meeting. The government shall bring a
1.44 Mb/1.44 Mo computer diskette (use only Courier New 12 pitch and,
if at all possible, use WordPerfect 7.0 or 9.0) containing the parties'
conformed charge to the Court's briefing attorney at the charge
conference.

17. After the parties have closed, they shall meet for the
purpose of preparing an agreed index of all exhibits admitted into
evidence during the course of the trial. As to each admitted exhibit,
the index must contain the exhibit number, the name of the offering
party, the name of the sponsoring witness, and a description of the
exhibit. The exhibit index must be delivered to the courtroom deputy
for delivery to the jury at the commencement of deliberations.

18. At the time the government calls a witness to testify at
trial, counsel for the government shall state the count(s) of the
indictment to which that particular witness's testimony will relate.

19. Except in the case of a testifying defendant or government
case agent, the counsel who calls a witness shall have no further
discussions with that witness concerning any aspect of the case or his

testimony after the witness has been tendered for cross-examination

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 9 of 14 Page|D 30

until such time as the witness has been tendered back for re-direct
examination.

20. The parties shall provide to each witness no later than ten
minutes prior to the commencement of the witness's testimony, a copy
of Exhibit C to this order, which. is entitled, "Instructions for
Witnesses."

21. The parties are hereby put on notice that Judge Means will
take the bench promptly at the appointed time for each session without
waiting until the clerk or courtroom security officer has called the
roll or otherwise ascertained the presence of all necessary parties.
If tardiness becomes a problem, appropriate fines will be imposed.

22. After the first Monday on which this case is put to trial,
no testimony will be heard on subsequent Mondays, thereby giving all
concerned time to handle other matters.

23. Bench conferences must be kept to a minimum. Counsel must
state the legal bases for their objections without elaboration or
argument, unless invited.

24. Objections to exhibits and testimony may occasionally be met
with the following procedure: admission of the exhibit or the
testimony with the understanding that the objection will be treated as
a motion to strike, with a ruling on the motion expressly reserved to
the end of the day's testimony when the matter may be fully discussed
out of the hearing of the jury. An exhibit so treated will not be

published to the jury until the motion to strike has been ruled on.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 10 of 14 Page|D 31

25. Except for good cause shown, examination of witnesses will
be limited to direct, cross, and redirect. Rule 611(b) of the Federal
Rules of Evidence will be strictly enforced.

26. The Court will discourage repetitive examination of a
witness, whether on cross or direct, and will strongly admonish or
sanction any counsel who wastes the time of his colleagues, the Court,
and the jury by failing to have witnesses present and prepared to
testify; by hunting for or causing a witness to hunt for exhibits; by
failing to have audio or video equipment tested, cued-up, and ready-
to-go; by failing to be timely in attendance; by attempting to argue
the case or make a speech to the jury during an objection; or in any
other manner,

27. The parties shall carefully observe the rules of courtroom
decorum that are attached as Exhibit B to this order. These rules are
in addition to the Federal Rules of Criminal Procedure and the Local
Rules of the Northern District of Texas.

28. No later than one week prior to trial, the parties shall
provide to the reporter a copy of the party's witness list and a
glossary of all terms likely to be uttered on the record during the
trial that are technical, scientific, medical, or otherwise uncommon.

29. Entry into the spectator gallery of the courtroom will be
permitted only before the call to order and during recesses. Anyone
who leaves the gallery while Court is in session may not return until

the Court declares a recess.

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 11 of 14 Page|D 32

30. Voir dire in this case will be conducted initially by the
Court, with each party being allotted ten (10) minutes for
supplementary voir dire.

31. Jurors will be permitted to take notes during trial. The
Court will issue preliminary instructions to the jurors containing
appropriate warnings and instructions.

SIGNED July 18, 2018,

""`"' //€
ling .MM<I/

TERR R. MEANS
UNITED sTATEs DISTRICT JUDGE

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 12 of 14 Page|D 33

QMHHHZQC

WlOOO¢MUlOO"¢

DMMMM@O

.OZ ACZHZHMU

=¢= EHMHENH

Nm\m\a who numsnsoo
Na\m\a who ®Hmm no assn

DMHMHHZMQH HHMHENM mO
ZOHH&HMUWWD

 

HMHA HHNHENW m_WOD ZEOH HZCQZHMMQ

10.\[01[0'.\£0]\’0]

ZOHmH>HD IHMOB HMOm
m£NMB mO HUHMBUHQ ZMWEHMOZ
BMDOU HUHMHMHQ mMHCHm QMHHZD

won >HHmm m

UOQ UQU.U H

 

mmMZBHZ MMMZDZ
UZHMOMZOMM BHmHmNM

MOQ 2305

.m>

CUHMWZ£ mO mWHCHM QMHHZD

(a)

(b)

Case 4:18-cr-00153-Y Documer(i:t 19 Filed 07/18/18 Page 13 of 14 Page|D 34

OURTROOM DECORUM
UNITED STATES DISTRICT COURT
Northern District of Texas
Honorable Terry R. Means, Presiding

The requirements stated herein are not all-inclusive, but are intended to emphasize and supplement the ethical obligations of
counsel under the Code of Professional Responsibility, the Local Rules of the Northern District of Texas (LR 83.16-83.18,
LCrR 53.1-53.3), and the time-honored customs of experienced trial counsel.

When appearing in this Court, all counsel (including, where applicable, all persons at counsel table) shall abide by the
following, unless excused by the presiding judge:

(l)
(2)
(3)
(4)

(5)
(6)
(7)

(8)

(9)

(10)

(11)

(12)

(13)

(14)

(15)

(16)

(17)

(18)

Stand as Court is opened recessed, or adjourned
Stand when the jury enters or retires from the courtroom
Stand when addressing, or being addressed by, the Court.

Stand at the lectern while examining any witness, except that counsel may approach the clerk's desk or the Witness
for purposes of handling or tendering exhibits

Stand at the lectern While making opening statements or closing arguments
Address all remarks to the Court, not to opposing counsel.

Avoid disparaging personal remarks or acrimony toward opposing counsel and remain wholly detached from any
ill-feeling between the litigants or witnesses

Refer to all persons, including Witnesses, other counsel, and the parties by their surnames and not by their first or
given names

Only one attorney for each party may examine or cross examine each witness. The attorney stating objections, if
any, during direct examination will be the attorney recognized for cross examination

Any counsel who calls a witness shall have no further discussions with that witness concerning any aspect of the
case or his testimony after the witness has been tendered for cross-examination until such time as the witness has
been tendered back for re-direct examination

Request permission before approaching the bench.

Any paper or exhibit not previously marked for identification must be marked before it is tendered to a witness for
examination, and any exhibit offered in evidence must be handed to opposing counsel when offered

In making objections counsel must state only the legal grounds for the objection and must withhold further comment
or argument unless elaboration is requested by the Court.

When examining a witness, counsel may not repeat the answer given by the witness.

Offers of, or requests for, a stipulation must be made privately, not within the hearing of the jury.

ln opening statements and in arguments to the jury, counsel may not express personal knowledge or opinion
concerning any matter in issue (i.e., don’t say “I think” or “l believe,” etc.) and, may not read or purport to read from
deposition or trial transcripts

Counsel must admonish all persons at counsel table that gestures, facial expressions audible comments, or the like,
as manifestations of approval or disapproval during the testimony of witnesses, or at any other time, are absolutely

prohibited

No one, including especially attorneys, parties, and witnesses, may bring food or drink (except bottled water) into
the courtroom, nor may they chew gum.

EXHlBIT "B" [Revised 7-10-12]

 

Case 4:18-cr-00153-Y Document 19 Filed 07/18/18 Page 14 of 14 Page|D 35

INSTRUCTIONS FOR WITNESSES

Speak slowly and distinctly. Don't mumble. Enunciate clearly
each word you speak. The courtroom is large and has a high

ceiling, so it's hard to be heard at times.

The courtroom has a sound system, but if you get too close or
too far away from the microphone, we may not be able to hear
you. Listen to how you sound and adjust your distance from
the microphone and the volume of your voice as needed to be

clearly heard by everyone in the courtroom.

Don't let nervousness cause you to speak rapidly or fail to
sound each syllable of your words. For example, if you were
to say the word “syllable,” say “SILL-uh-bull” not “SILL-
bull.” Or if the word is “officer,” say “AW-fiss-ur,” not
“AWF-sur.” Again, if the word is “composition,” say all four
syllables (“com-po-ZIH-shun”). Don't turn the word into a

three-syllable word (“comp-ZIH-shun”).

Let the attorney who is questioning you finish his question

before you begin your answer.

Pause a second between the end of the attorney's questions
and the beginning of your answers. This gives everyone a

chance to think a little about what is being said.

If you hear an objection to a question, do not give an answer
until the judge rules on the objection. If you are unsure of
whether to begin your answer or if by then you don't remember
the question, ask the judge to tell you what to do. He will

gladly help you.

EXHIBIT "C"

